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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       )  Civil Action No. 18-CV-5587
                   Plaintiff,          )
           v.                         )
                                       )  Judge Hon. John Z. Lee
EQUITYBUILD, INC., EQUITYBUILD         )
FINANCE, LLC, JEROME H. COHEN,         )  Magistrate Judge Young B. Kim
and SHAUN D. COHEN,                    )
                                       )
                  Defendants,           )
________________________________ _____​)

 DEFENDANTS RESPONSE TO THE HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO.
                                    454

       Jerome H. Cohen (“Defendant”) respectfully files this Response (“Response”) ​TO THE

HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO. 454​.

                                        BACKGROUND


       In Minute Entry Document No. 454, the Honorable Judge Kim graciously allowed for the

Defendant to appear on August 1st but also be able to provide three replacement dates should

there be a scheduling conflict on August 1st. August 1st falls in the middle of a 3 week period of

religious observance that ends late on August 11th. As a result, the Defendant would choose

August 13th, 14th or 15th to appear.




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July 23​rd​, 2019
                                      Respectfully submitted,

                                      DEFENDANT JEROME H. COHEN

                                      By:
                                             Jerome H. Cohen


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                               CERTIFICATE OF SERVICE


I hereby certify that on July 23​rd​, 2019, a copy of the foregoing ​TO DEFENDANTS RESPONSE TO
THE HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO. 454 ​was served by filing with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to
counsel of record.




                                                               Shaun D. Cohen




                                                               Jerome H. Cohen




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